Case 15-80849-JJG-13       Doc 32 Filed 02/19/16 EOD 02/19/16 16:29:35            Pg 1 of 5
                          SO ORDERED: February 19, 2016.




                          ______________________________
                          Jeffrey J. Graham
                          United States Bankruptcy Judge




                        UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF INDIANA
                              TERRE HAUTE DIVISION

IN RE:                                           CASE NO. 15-80849 JJG-13
         FERNELL KEITH McDONALD
             Debtor(s).

                 ORDER CONFIRMING AMENDED CHAPTER 13 PLAN
                          FILED DECEMBER 14, 2015

         The amended Plan of the Debtor(s) was filed. Notice of Amended Chapter 13

Plan was sent to all creditors and other parties in interest. The Court finds that the Plan

meets the requirements of 11 U.S.C. § 1325 including the following:

      1. The Plan complies with the provisions of this Chapter and with the other

applicable provisions of this Title.

      2. Any fee, charge, or amount required under Chapter 123 of Title 28 or by the

Plan to be paid before confirmation, has been paid. The Trustee shall charge such

percentage fee as may periodically be fixed by the Attorney General pursuant to 28

U.S.C. § 586(e).
Case 15-80849-JJG-13       Doc 32       Filed 02/19/16   EOD 02/19/16 16:29:35    Pg 2 of 5




     3. The filing of the Petition and the Plan has been proposed in good faith and not

by any means forbidden by law.

     4. The value, as of the effective date of the Plan, of property to be distributed

under the Plan on account of each allowed unsecured claim is not less than the amount

that would be paid on such claim if the estate of the Debtor were liquidated under

Chapter 7 of this title on such date.

     5. With respect to each allowed secured claim provided for by the Plan, the holder

of such claim has either accepted the Plan, the property has been surrendered, or the

Plan provides that the holder of such claim retain the lien securing such claim, until the

earlier of (a) the payment of the underlying debt determined under non-bankruptcy law

or (b) discharge under Section 1328. The value, as of the effective date of the Plan, of

payments to be distributed under the Plan with interest from the date of this Order, is as

follows:

       CREDITOR                             DESCRIPTION                      VALUE

MainSource Bank                  2008 F350 truck                 Fully secured (4.25%)
            (Secured claim to which Section 506 valuation is not
            applicable - 910 claim.)

Crane Federal Credit Union     2014 Harley Davidson               Secured/Pay Directly
            (The Debtor shall make all disbursements directly to this
            creditor.)

Regions Mortgage                 House and real estate
                                 180 8th Street NE
                                 Linton, Indiana                    Secured/Pay Directly
              (The Debtor shall make all disbursements directly to this
              creditor.)
Case 15-80849-JJG-13         Doc 32    Filed 02/19/16   EOD 02/19/16 16:29:35     Pg 3 of 5




BloomBank/                          House and real estate
Bloomfield State Bank               69 2nd Avenue NW
                                    Linton, Indiana                    Secured/Pay Directly
                 (The Debtor shall make all disbursements directly to this
                 creditor.)

MainSource Bank                     House and real estate
                                    661 NW 3rd Street
                                    Linton, Indiana                    Secured/Pay Directly
                 (The Debtor shall make all disbursements directly to this
                 creditor.)

MainSource Bank                     House and real estate
                                    200 NW F Street
                                    Linton, Indiana                    Secured/Pay Directly
                 (The Debtor shall make all disbursements directly to this
                 creditor.)

Regions Bank                        House and real estate
                                    279 NW A Street
                                    Linton, Indiana                    Secured/Pay Directly
                 (The Debtor shall make all disbursements directly to this
                 creditor.)

Indiana Department of Revenue Property of the Debtor                       $1,522.50 (3%)

       The Debtor(s) shall maintain (a) physical damage insurance on their property

covering both the interest of the Debtor and the interest of any creditor lienholder (as

loss payee) in such property, and (b) liability insurance on any vehicle owned by the

Debtor(s).

       Any creditor filing a claim as secured which is not set forth above shall be

deemed to be unsecured and paid prorata with unsecured claims, except priority tax

claims.

     6. The Debtor(s) will be able to make all payments under the Plan and to comply

with the Plan.
Case 15-80849-JJG-13        Doc 32    Filed 02/19/16   EOD 02/19/16 16:29:35        Pg 4 of 5




     7. The Debtor has paid all amounts that are required to be paid under a domestic

support obligation and that first became payable after the date of the filing of the petition

if the Debtor is required by a judicial or administrative order, or by statute, to pay such

domestic obligation.

     8. The Debtor has filed all applicable Federal, State, and local tax returns as

required by section 1308.

       IT IS ORDERED that:

       The Chapter 13 Plan of the Debtor(s) is CONFIRMED including the following

provisions:

     1.       Payment: PAYMENT AMOUNT:                   $500.00 per month
              Period of Payments:                        60 months
              Total Payments* to Trustee:                $30,000.00 plus any portion of
                                                         tax refunds directed by Trustee,
                                                         or such other amount necessary
                                                         for the execution of the Plan.

              Payable to:   Donald L. Decker
                            Chapter 13 Trustee
                            P.O. Box 206
                            Memphis, TN 38101-0206

       *The total amount stated to be paid into the Plan is based on the
       assumption that all payments will be made in a timely manner, that the total
       payments will be we sufficient to pay all allowed secured, priority and
       administrative claims in full, and that the Trustee fee percentage will not
       increase during the life of the Plan. Late payments will increase the
       interest paid on secured claims and will, in turn, increase the total amount
       to be paid in the Plan. The total payments must at least pay all allowed
       secured, priority, and administrative claims in full.

     2.       The attorney for Debtor(s) is allowed a fee as follows:

                                                                FEE PAYABLE
       ATTORNEY                      FEE ALLOWED                BY THE ESTATE

John R. Himes                              $4,000.00                    $4,000.00
Case 15-80849-JJG-13    Doc 32     Filed 02/19/16    EOD 02/19/16 16:29:35       Pg 5 of 5




    3.     The Court may order the debtor's employer or any entity from whom the

           debtor receives income to pay all or any part of such income to the

           trustee.

    4.     The value of the security interest, if any, is as shown above in the findings.

    5.     If an Order Lifting Stay is entered, the Trustee may adjust the claims

           relating to that collateral to the amount paid to the date the Trustee

           received the Order, and make no further payment upon said claim.

    6.     That the administrative expenses of the Trustee shall be paid in full

           pursuant to 11 U.S.C. § 503(B), 1326(B)(2), and U.S.C. § 586(E)(1)(B).

    7.     If the Debtor is engaged in business, the Trustee is not ordered to perform

           further duties specified in § 1302(c) until further order of this Court.

    8.     Debtor(s) shall be required to provide to the Office of the Standing Trustee

           a copy of each federal income tax return filed during the life of this Plan,

           and turn over to the Trustee any federal income tax refunds, received, as

           directed by the Trustee.

    9.     Additional Terms: None.

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